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                                                                                                              01/25/2016
  BY ECF
  Honorable A. Kathleen Tomlinson
  United States District Court
  Eastern District of New York
  Long Island Federal Courthouse
  100 Federal Plaza
  Central Islip, NY 11722

      Re: Sky Medical Supply Inc. v. SCS Support Claims Services, Inc., et al., (12-CV-6383):
                Plaintiff’s Motion to Compel Production From ‘GW Defendants’

  Dear Judge Tomlinson:

  On behalf of Plaintiff Sky Medical Supply Inc. (“Plaintiff”), we submit the instant motion seeking an
  order compelling Defendants SCS Support Claim Services (“SCS”), Dante Brittis, M.D.; Joseph C.
  Cole, M.D.; Eitan Dagan; Mitchell Ehrlich, M.D.; Christopher Ferrante, D.C.; William S. Kritzberg,
  M.D.; Denis Mann, M.D.; Robert A Sohn, M.D.; Renat R. Sukhov, M.D.; Mark Weber, M.D.;
  Mitchell L. Weisman, M.D.; and Julio Westerband, M.D., (collectively, “GW Defendants”) to
  provide complete and verified responses to Plaintiff’s discovery demands and supplemental
  demands.

  By way of history, Plaintiff filed the Second Amended Complaint for this action (“Complaint”) on
  July 6, 2014. 1 Throughout the entire life cycle of this matter, Plaintiff has alleged that GW
  Defendants and their co-Defendants have colluded to cause, on a preordained basis, the denial of
  insurance benefits claims brought by Plaintiff and other health providers against the insurance
  carriers that had issued the relevant policies. 2 Specifically, the Complaint alleges: that Defendants
  collectively executed a protocol wherein services imparted by health providers would universally be
  deemed not medically necessary, regardless of the medical condition and history of each patient; that
  the number of peer review reports bearing Doctor Defendants’ electronic signatures was so massive
  that they could not possibly have been the result of legitimate medical analysis; that the medical
  records allegedly reviewed were not the basis of the ultimate opinions contained within the peer
  reports; that the reports were not created by the doctors as affirmed to on the reports, but rather by


  1 Plaintiff’s initial complaint had been previously dismissed without prejudice by Hon. Joseph F. Bianco. Although the

  Court had found the preceding Complaint to be “well-pleaded”, the dismissal was granted because Plaintiff had not
  specified which of Plaintiff’s insurance claims, all of which had been the subject of unrelated State civil court actions
  against insurance companies, had been litigated to completion. By the Court’s reasoning, only those claims that had
  been litigated to completion, and for which Plaintiff had not been fully reimbursed for the amounts listed on the bills
  submitted to the carriers, were ripe for adjudication in federal court. Thus pursuant to Judge Bianco’s ruling, Plaintiff
  filed the instant Complaint on July 6, 2014, which had been amended to specify those claims that were fully litigated in
  the civil courts and that are the basis for Plaintiff’s current damages.
  2 The Complaint states that the 177 claims (from Exhibit 7 of the Complaint) that provide the calculus for Plaintiff’s

  damages were unpaid as the result of a fraudulent enterprise that was formed to universally deny payment of insurance
  claims that had been submitted by Plaintiff and other similarly situated health providers to insurance carriers, who in
  turn forwarded them to Defendants for independent determinations as to the the medical necessity of the billed-for
  services. Complaint ¶¶ 8-9, 79 – 85, 91-102, 129 and passim.
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  laypersons who generated them at the behest of SCS, Patient Focus Medical Examinations, PC
  (“Patient Focus”) and the various Manager/Management Company Defendants; that the boilerplate
  “Discussion” sections of the reports are simply chosen by laypersons from a number of
  prefabricated paragraphs residing in Defendants’ computer system, and which populate the reports
  depending on the services being reviewed; and that through their reports the Defendants deemed
  essentially all services to be medically unnecessary so that, in part, they could generate extra revenue
  via court and/or arbitration testimony that would be required to support the reports. 3

  With respect to Plaintiff’s initial demands, it has not received a single document from any of the
  thirteen GW Defendants. Plaintiff now seeks the court’s intervention. Below are a non-exhaustive
  sample of discovery demands that have not yet been complied with by Defendants:

           With Respect to Plaintiff’s Initial Demands

           Document Demand No. 6: Document Demand No. 6 of Plaintiff's First Request for
           Production of Documents seeks: Any and all professional medical texts, reports, manuals,
           research studies, literature, guides, or other documents you relied upon when producing any
           report identified in Exhibits 1 and 7 to the Second Amended Complaint.

           GW Defendants Responded: “Defendant objects to this request as vague, overbroad,
           susceptible to multiple interpretations, and irrelevant. Subject to these objections, and
           without waiving the foregoing General and Specific Objections, Defendant will produce any
           responsive non-privileged documents that are in his possession, custody, or control.”

  In their response, GW Defendants gave boilerplate objections, but stated that they would produce
  responsive non-privileged documents, which would include this literature. 4 They failed to do so.
  On January 7, 2016, Plaintiff’s counsel contacted GW Defendants by email and inquired, “[a]re you
  planning on serving any actual documentation, on behalf of any of your clients, in response to our
  demand for document production? To date, we have received nothing.” A follow-up email to this
  effect was sent by Plaintiff on January 12, 2016. GW Defendants responded that they would not
  produce anything that falls outside the 177 claims listed on the damages spreadsheet. Even in the
  context of the initial limited discovery order that had been issued by Your Honor while Judge
  Bianco’s decision on the motions to dismiss was pending, Defendant must provide full copies of all
  literature cited in the 177 reports listed on the damages spreadsheet (Exhibit 7 of the Complaint),
  since the Complaint places such literature squarely into focus as a relevant aspect of the reports’
  creation. 5 There is no valid basis for refusing to provide this documentation.

  3 Thus the Complaint and incorporated exhibits illustrate that while Plaintiff’s damages currently consist of 177 wrongly
  denied claims, they are simply a cog in a much larger machine created to deny, in a wholesale manner, claims for benefits
  by health providers including but not limited to Plaintiff.3 However, this letter motion is limited to Plaintiff’s initial set
  of discovery demands, since the time frame for GW Defendants to respond to Plaintiff’s broader supplemental demands
  has not yet lapsed. Plaintiff reserves its right to engage in motion practice regarding the supplemental demands should
  insufficient responses be forthcoming.
  4 “[P]at, generic, non-specific objections, intoning the same boilerplate language, are inconsistent with both the letter

  and the spirit of the Federal Rules of Civil Procedure.”Obiajulu v. City of Rochester, Dep't of Law, 166 F.R.D. 293, 295
  (W.D.N.Y.1996). Indeed, “‘boilerplate objections that include unsubstantiated claims of undue burden, overbreadth and
  lack of relevancy,’ while producing ‘no documents . . . are a paradigm of discovery abuse.’” Pegoraro v. Marrero, 281
  F.R.D. 122, 128 (S.D.N.Y. 2012) (citing Jacoby v. Hartford Life & Accident Ins. Co., 254 F.R.D. 477, 478
  (S.D.N.Y.2009)).
  5 “In addition to the above issues, the peer review reports consistently cite to medical literature in support of the

  conclusions contained in the reports. However, such literature is continuously mischaracterized in an airbrushed attempt
  to make the reports’ conclusions seem independent and legitimate; moreover, literature that Doctor Defendants knows
  to be outdated or irrelevant is nonetheless input by laypersons into reports bearing Defendant Doctors’ signatures. This
  exact issue, involving the very same Doctor Defendants, has been recognized and discussed by triers of fact and law”
  Complaint ¶ 95.
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           Document Demand No. 14: Document Demand No. 14 of Plaintiff's First Request for
           Production of Documents seeks: Copies of any report identified m Exhibits 1 and 7 to
           theSecond Amended Complaint.

           GW Defendants Responded: “Defendant objects to this Demand as seeking the production
           of documents outside the narrow scope of discovery as mandated by Magistrate Judge
           Tomlinson, because it seeks a response related to Exhibit 1 to the Complaint, the contents
           of which are irrelevant to Plaintiff's damage claims. Subject to and without waiving this
           objection, or the foregoing General and Specific Objections, Defendant will produce any
           nonprivileged documents in his possession, custody, or control.”

  Again, GW Defendants agreed to produce nonprivileged documents in their possession, custody or
  control, but failed to do so. None of the objections stated in their response are proper – indeed, the
  demand calls for copies of the very peer review reports that form the damages of this lawsuit. Their
  relevance is unquestionable. Furthermore, even if GW Defendants felt that the demand was
  broader than anticipated under the Court’s initial limited discovery order while Judge Bianco’s
  decision was pending, it was nonetheless required to produce copies of the reports for all 177 claims
  listed on the “Damages Spreadsheet”.

           Interrogatory No. 5: Plaintiff’s 5th Interrogatory states: Please state whether you have ever
           used a signature stamp or electronic signature to sign any report identified in Exhibits 1 and
           7 to the Second Amended Complaint and identify any and all persons who were authorized
           to use such stamp or electronic signature on your behalf.

           GW Defendants responded: “Defendant objects to the Interrogatory insofar as it seeks
           information beyond the narrow scope of the parameters for discovery set by Magistrate
           Judge Tomlinson during the Court conference on August 7, 2014 because it seeks a response
           related to Exhibit 1 to the Complaint, the contents of which are irrelevant to Plaintiff's
           damage claims. Defendant further objects to all other parts of the Interrogatory as
           overbroad, overburdensome, and irrelevant to the damage calculation in the Complaint.”

  The objections are improper. 6 Plaintiff’s Complaint alleges numerous times that the signatures on
  the peer reports at issue were placed on the reports by laypersons as opposed to Doctor Defendants.
  Consequently, GW Defendants’ objections are baseless.

  The Plaintiff therefore respectfully requests that the Court direct that GW Defendants produce all
  documents in their possession, custody, or control that are responsive to Document Demand No. 6
  and Document Demand No. 14, including but not limited to all peer review reports, literature cited
  therein (full and complete copies) and signature stamps with respect to the 177 claims listed on the
  peer reports; furthermore, Plaintiff requests that GW Defendants be compelled to provide
  responses to the above-mentioned interrogatory.

  Thank you for your consideration of this letter.



  6 Courts in the Second Circuit have long held that “[a] party wishing to object to an interrogatory may not merely repeat
  the ‘familiar litany that the interrogatories are burdensome, oppressive or overly broad,’ but rather must ‘specifically’
  show how the interrogatory ‘is not relevant or how each question is overly broad, burdensome or oppressive by
  submitting affidavits or offering evidence revealing the nature of the burden.’” Convermat Corp. v. St. Paul Fire and
  Marine Ins. Co., CV 06-1045 JFB AKT, 2007 WL 2743696, at *2 (E.D.N.Y. Sept. 18, 2007) (citing Compagnie Francaise
  d'Assurance Pour le Commerce Exterieur v. Phillips Petroleum Co., 105 F.R.D. 16, 42 (S.D.N.Y.1984))
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                                                 Respectfully,

                                                  /s/ Stefan Belinfanti
                                                 _______________
                                                 Stefan Belinfanti, Esq.
  Cc: All Counsel via ECF                        Counsel for Plaintiff
      Warren Cohen via ECF                       Gary Tsirelman P.C.
          and email                              129 Livingston, 2nd Floor
                                                 Brooklyn NY 11201




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